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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
                                                      :              15-MC-131
                                                      :
IN RE:                                                :              SECOND
                                                      :              AMENDED
CIVIL CASE OPENING                                    :              STANDING
                                                      :               ORDER
                                                      :               M10-468
------------------------------------------------------x

The District Court’s Electronic Case Filing (ECF) system having been modified to allow new
civil actions to be filed electronically by attorneys admitted to the bar of this Court who are
registered Filing Users of the CM/ECF system and attorneys seeking admission pro hac vice,
unless otherwise ordered by the Court it is hereby

ORDERED, effective June 8, 2015, attorneys seeking to commence a new civil action must do
so electronically through the ECF system.

All documents required to open the action shall be filed electronically in PDF-A format.
Summonses shall be requested through the ECF system. In response, the Clerk will issue
summonses suitable for printing through the ECF system. Any required fee shall be paid on-line
with a credit card during the case opening process. Filing parties should consult the assigned
judge’s Individual Practices to determine if courtesy copies are required.

Pro hac vice applicants will receive a temporary ECF account enabling the electronic filing of
the case initiating documents and a Motion for Admission Pro Hac Vice.

The following cases may not be commenced on-line through the ECF system and must be filed
in the traditional manner, on paper:

        x    New civil actions that include documents sought to be filed under seal;
        x    New civil actions commenced by a pro se party;
        x    False Claims Act cases (Qui Tam or “whistleblower” cases) filed pursuant to 31
             U.S.C.§3729 et seq;

New civil actions filed electronically that contain the following deficiencies may be
administratively closed without prejudice, and summonses may not be issued unless the
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deficiency is corrected within five (5) calendar days of electronic transmission by the Clerk of a
Notice of Deficient Filing:

           x   The case initiating document contains the wrong document, an illegible or
               unreadable document, or no document; or
           x   The filing fee due was not paid, either in whole or in part.

Where a new civil action is administratively closed for a reason listed above and the party cures
the deficiency within 60 days of the case closing, the party may seek to reopen the case by
electronically filing a Notice of Application to Reopen Case through the ECF system. Such
Notice shall describe the efforts to cure the deficiency and seek to reopen the case. The Clerk
shall review such Notice and, if the deficiency is satisfactorily cured, reopen and randomly
reassign the case. Applications to reopen such administratively closed cases filed after 60 days
of the date of closing must proceed by motion.

Any party unable to comply with the requirement for electronically commencing a new civil
action through the ECF system must seek permission of the Court to file in the traditional
manner, on paper. Any such application made after regular business hours may be submitted
through the night depository box maintained pursuant to Local Civil Rule 1.1.

Further guidance may be found in the Court’s Electronic Case Filing Rules & Instructions
available at www.nysd.uscourts.gov/ecf.

                                                     SO ORDERED:
Dated: January 14, 2021
       New York, NY
                                                     ___________________________________
                                                                Colleen McMahon
                                                           Chief United States District Judge
